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            House v. NCAA Settlement Administrator
            P.O. Box 301134
            Los Angeles, CA 90030-301134
                                                                                     VISIT THE SETTLEMENT WEBSITE BY
            NCCO                                                                     SCANNING THE PROVIDED QR CODE
                                                                                                    House, et al. v. NCAA, et al.
            «Barcode»                                                                               U.S. DISTRICT COURT
            Postal Service: Please do not mark barcode                                 NORTHERN DISTRICT OF CALIFORNIA
            NCCO: ClaimID: «ClaimID»                                                           Case No. 4:20-CV-03919 (N.D. Cal.)
            PIN: «PIN»
            «First1» «Last1»                                                                                 Must Be Postmarked
                                                                                                                        By DATE
            «CO»
            «Addr2»                                                                                      Claim ID: <<ClaimID>>
            «Addr1»                                                                                               PIN: <<PIN>>
            «City», «St» «Zip»
            «Country»
                                                                Claim Form
If you are or were a Power Five football or basketball player with a full scholarship, you do not need to fill out a Claim Form to
receive an award, but you do have the option to provide additional information about NIL deals in Section 3 for Lost NIL
Opportunities. All other athletes, please fill out Section 1, Section 2, and Section 3 (if eligible) to ensure your claim is correctly
processed.
1)            Contact Information



     First Name                                                   M.I.      Last Name


     ClaimID from Email or Postcard Notice (if you did not get a notice, leave this blank)


     Primary Address


     Primary Address Continued


     City                                                                                            State         ZIP Code


     Email Address

                       —                   —
     Area Code             Mobile Number


     NCAA Eligibility Center ID




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2)          Basic Eligibility Information
Please fill out the below to confirm the year(s), the sport(s), and the school(s), in which you competed in Division I college athletics.

         2015-2016 Academic Year


     School Attended


     Sport (e.g., Women’s Basketball, Men’s Lacrosse, etc.)


     Redshirt semester(s) / semester(s) of ineligibility (e.g.: Fall, Spring)
         2016-2017 Academic Year
     If the information for 2016-2017 is the same as above, please fill in this circle:


     School Attended


     Sport (e.g., Women’s Basketball, Men’s Lacrosse, etc.)


     Redshirt semester(s) / semester(s) of ineligibility (e.g.: Fall, Spring)
         2017-2018 Academic Year
     If the information for 2017-2018 is the same as above, please fill in this circle:


     School Attended


     Sport (e.g., Women’s Basketball, Men’s Lacrosse, etc.)


     Redshirt semester(s) / semester(s) of ineligibility (e.g.: Fall, Spring)
         2018-2019 Academic Year
     If the information for 2018-2019 is the same as above, please fill in this circle:


     School Attended


     Sport (e.g., Women’s Basketball, Men’s Lacrosse, etc.)


     Redshirt semester(s) / semester(s) of ineligibility (e.g.: Fall, Spring)
         2019-2020 Academic Year
     If the information for 2019-2020 is the same as above, please fill in this circle:


     School Attended


     Sport (e.g., Women’s Basketball, Men’s Lacrosse, etc.)


     Redshirt semester(s) / semester(s) of ineligibility (e.g.: Fall, Spring)


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    2020-2021 Academic Year
If the information for 2019-2020 is the same as above, please fill in this circle:


School Attended


Sport (e.g., Women’s Basketball, Men’s Lacrosse, etc.)



Redshirt semester(s) / semester(s) of ineligibility (e.g.: Fall, Spring)
    2021-2022 Academic Year
If the information for 2019-2020 is the same as above, please fill in this circle:


School Attended


Sport (e.g., Women’s Basketball, Men’s Lacrosse, etc.)



Redshirt semester(s) / semester(s) of ineligibility (e.g.: Fall, Spring)
    2022-2023 Academic Year
If the information for 2019-2020 is the same as above, please fill in this circle:


School Attended


Sport (e.g., Women’s Basketball, Men’s Lacrosse, etc.)



Redshirt semester(s) / semester(s) of ineligibility (e.g.: Fall, Spring)
    2023-2024 Academic Year
If the information for 2019-2020 is the same as above, please fill in this circle:


School Attended


Sport (e.g., Women’s Basketball, Men’s Lacrosse, etc.)



Redshirt semester(s) / semester(s) of ineligibility (e.g.: Fall, Spring)
    2024-2025 Academic Year
If the information for 2019-2020 is the same as above, please fill in this circle:


School Attended


Sport (e.g., Women’s Basketball, Men’s Lacrosse, etc.)



Redshirt semester(s) / semester(s) of ineligibility (e.g.: Fall, Spring)


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In order for your claim to be processed for Compensation for Athletic Services and Video Games Damages, please ensure you
complete sections 1 and 2 above.
To file a claim for Lost NIL Opportunities, please see Section 3.
Please confirm which category, or categories, you are submitting a claim for:

       Compensation for Athletic Services (competed as a Division I athlete at any point from 2019-2024 or eligible to compete
        in 2024-2025)
        Video Games (played Division I FBS Football or Men’s Basketball at any point from 2016-2024)
        Lost NIL Opportunities (competed prior to July 1, 2021 and received $ for NIL before July 1, 2023)



3)         School & Athletic Information for Lost NIL Opportunities
If you answer no to either of the following two questions, you are not eligible and should not submit a claim.

     Did you compete on a Division I athletic team prior to July 1, 2021?      Yes     No

     Did you earn money for your NIL from a third-party while competing as a college athlete since July 1, 2021 and before
     July 1, 2023?   Yes     No

Do you have an NIL deal recorded in our database? Visit the settlement website at www.collegeathletecompensation.com
to find out.

        Yes     No


If yes, you will receive a direct payment, and do not need to file a claim form, if we have your updated contact information.
If not, or if our records are not complete, please submit your NIL records for review.
You can attach paper documents to this form if mailing, or submit electronically.
4)         Documentation
Enclose a copy of any documents you think would be beneficial to prove your claim, including documents showing the
dollar amounts and dates of transactions.
Enclose a copy of an official photo identification (like a driver’s license or a Student ID).
5)         Payment Selection
If you would like to receive your payment electronically via PayPal or Venmo, you must submit your claim on the website at
www.collegeathletecompensation.com. Otherwise you will receive a check payment mailed to the address provided above.
6)         Certification & Signature
I declare under penalty of perjury under the laws of the United States of America that the information above is true and correct
to the best of my knowledge and that I am authorized to submit this claim. I understand that my claim is subject to audit,
review, and validation using all available information.

Signature:                                                                    Dated (mm/dd/yyyy):

Print Name:
Mail your Claim Form with copies of any supporting documents, postmarked on or before MONTH DAY YEAR to: House
v. NCAA Settlement Administrator, P.O. Box 301134, Los Angeles, CA 90030-1134.




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